

Matter of Pirozzolo v Lia (2016 NY Slip Op 05783)





Matter of Pirozzolo v Lia


2016 NY Slip Op 05783


Decided on August 16, 2016


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 16, 2016
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
THOMAS A. DICKERSON
JEFFREY A. COHEN
COLLEEN D. DUFFY, JJ.


2016-08465
 (Index No. 80195/16)

[*1]In the Matter of Samuel T. Pirozzolo, Jr., etc., petitioner-appellant, 
vJohn Lia, et al., respondents-respondents, et al., respondent.




DECISION &amp; ORDERIn a proceeding pursuant to Election Law § 16-102, inter alia, to invalidate petitions designating John Lia, Lynne R. Galdamez, Gregory Fasano, Julie Kim, Thomas J. Wonica, Angelyn C. Wonica, and Thomas L. Raguci as candidates in a primary election to be held on September 13, 2016, for the party positions of Members of the County Committee of the Conservative Party, Richmond County, for certain Election Districts within the 63rd Assembly District, the petitioner appeals from a final order of the Supreme Court, Richmond County (Greene, J.), dated August 10, 2016, which denied the petition and dismissed the proceeding.ORDERED that the final order is affirmed, without costs or disbursements.The Supreme Court properly denied the petition and dismissed the proceeding on the ground that the petitioner lacked standing to challenge the subject designating petitions, as the petitioner was not enrolled to vote in any of the election districts in which the challenged candidates resided (see Election Law § 6-154[2]; Lucariello v Niebel, 72 NY2d 927, 928; Matter of Luthmann v Gulino, 131 AD3d 636, 637; Matter of Dekom v Trani, 109 AD3d 769, 770; Matter of Haggerty v Board of Elections of City of N.Y., 218 AD2d 773; Matter of Cantatore v Sunderland, 196 AD2d 606, 607). The petitioner's challenge to the constitutionality of Election Law § 6-154(2), as interpreted by the Court of Appeals in Lucariello v Niebel (72 NY2d 927), is without merit.The parties' remaining contentions need not be addressed in light of our determination.DILLON, J.P., DICKERSON, COHEN and DUFFY, JJ., concur.ENTER: Aprilanne Agostino Clerk of the Court








